          Case 2:12-cv-07187-JD Document 57 Filed 03/16/15 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

LINDA PETRULIO,                                             CIVIL ACTION
                      Plaintiff,

               v.

TELEFLEX INCORPORATED, and                                  NO. 12-7187
TELEFLEX MEDICAL
INCORPORATED,
              Defendants.

                                           ORDER

       AND NOW, this 16th day of March, 2015, it having been reported that the issues

between the parties in the above action have been settled and upon Order of the Court pursuant

to the provisions of Rule 41.1(b) of the Local Rules of Civil Procedure of this Court, IT IS

ORDERED that the above action is DISMISSED WITH PREJUDICE, by agreement of

counsel, without costs.

                                                     BY THE COURT:

                                                     /s/ Hon. Jan E. DuBois

                                                        DuBOIS, JAN E., J.
